Case: 1:15-cr-00320-CAB Doc #: 32 Filed: 04/25/16 1 of 1. PageID #: 169




                        UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF OHIO
                               EASTERN DIVISION



UNITED STATES OF AMERICA,                )      CASE NO. 1:15cr320
                                         )
                                         )
                    Plaintiff,           )      JUDGE CHRISTOPHER A. BOYKO
                                         )
              Vs.                        )
                                         )
TAHESIA JOHNSON,                         )      ORDER ADOPTING
                                         )      REPORT AND RECOMMENDATION
                                         )      OF MAGISTRATE JUDGE
                                         )
                    Defendant.           )


      The above Defendant, accompanied by counsel, proffered a plea of guilty

before Magistrate Judge Parker to the charge in the Indictment. The Court finds that

the Defendant’s proffer of guilt was made under oath knowingly, intelligently and

voluntarily and that all requirements imposed by the United States Constitution and

Fed.R.Crim.P. 11 are satisfied. THEREFORE, the Court adopts the Report and

Recommendation of Magistrate Judge Parker, accepts the Defendant’s offer of guilt and

finds the Defendant guilty as charged in the Indictment.




      IT IS SO ORDERED.

                                                s/Christopher A. Boyko
Date 4/25/2016                                  CHRISTOPHER A. BOYKO
                                                United States District Judge
